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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                 )
GRACE, et al.,                   )
                                 )
                 Plaintiffs,     )
                                 )
          v.                     )     Civil No. 18-cv-1853 (EGS)
                                 )
JEFFERSON B. SESSIONS, III,      )
Attorney General of the          )
United States, et al.,           )
                                 )
                 Defendant.      )
                                 )

               ORDER GRANTING TEMPORARY STAY OF REMOVAL


     Upon consideration of Plaintiffs’ Emergency Motion for a

Stay of Removal, the opposition thereto, and Plaintiffs’ reply,

and for the reasons stated in open Court at the motion hearing

this date, it is HEREBY ORDERED that Defendants, their agents,

and any persons acting in concert with them are enjoined from

removing Plaintiffs Grace, Mina, Gina, Mona, Maria, Carmen and

her daughter J.A.C.F., and Gio, from the United States pending

resolution of the Court’s determination of whether it has

jurisdiction to enter a stay of removal in this case.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          August 9, 2018
